440 F.2d 1064
    Veronica FOLDI, wife of and George Foldi, Plaintiffs-Appellants,v.ARGONAUT INSURANCE COMPANY, Defendant-Appellee.
    No. 31021 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    April 1, 1971.
    Rehearing Denied April 22, 1971.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; Frederick J. R. Heebe, Judge.
      Ronald Tanet, of Silvers &amp; Tanet, New Orleans, La., for appellants.
      Henry B. Alsobrook, Jr., of Adams &amp; Reese, New Orleans, La., for appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      Affirmed. See Fifth Circuit Rule 21.1 Also see Hyler v. Reynolds Metal Co., 434 F.2d 1064 (5th Cir. 1970).
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; see Isbell Enterprises v. Citizens Casualty Co. of N.Y., 431 F. 2d 409, Part I (5th Cir. 1970)
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970).
      
    
    